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FILED

SEALED
UNITED STATES DISTRICT COURT APR 6 2094
WESTERN DISTRICT OF TEXAS CLENK, Ug
AUSTIN DIVISION ate Tern BiaTNR GR ON,
UNITED STATES OF AMERICA, ) BRR rine
Plaintiff, )
) INDICTMENT
v. ) A2icR O68LY
) CRIMINAL NO. 1:20-CR-070
1. Monty Lane RIGGS, )
2. Suni Wynn ROGERS, ) * [21USC 846 — conspiracy to distribute
: ) methamphetamine]
4 )
5. Joseph Martinez MANFAS )
6. )
7. Shawnwilliam Songao SANTOS, )
8. Marylee Mafnas SANTOS, )
eC )
And )
10. Vincent Lee PRESTO, )
Defendants. )
USAO # 2020R02602
THE GRAND JURY CHARGES:
“Count One

[21 U.S.C. § 841(a)(1) and 846]
Beginning in or about April 2019 and continuing until on or about the date of this
Indictment in the Western District of Texas, and elsewhere, the Defendants,

1. Monty Lane RIGGS,
2. Suni Wynn ROGERS,
3,
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5. Joseph Martinez MANFAS,
/_ ie
7. Shawnwilliam Songao SANTOS,
8. Marylee Mafnas SANTOS,
ae
and
10. Vincent Lee PRESTO,
Case 1:21-cr-00068-LY Document 35 Filed 04/06/21 Page 2 of 2

did knowingly, intentionally and unlawfully combine, conspire confederate and agree with others
known and unknown to distribute a controlled substance, which offense involved a mixture or
substance that contained more than 500 grams of a mixture or substance that detectable amount
of methamphetamine, a Schedule II Controlled Substance, all in violation of Title 21, United

States Code, Sections 846, 841 (a) and 841(b)(1)(A).

ORIGINAL SIGNA
TU
eSCNceD PURSUANT To
“GOVERNMENT ACT OF 2990

ASHLEY C. HOFF
I'VED STATES ATTORNEY

By: - A L,

MARK H. MARSHALL
Assistant U.S. Attorney

 

 
